                                              Case 2:19-cv-00239-GMS Document 19 Filed 07/16/19 Page 1 of 3



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                                           Attorneys for Plaintiff
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                                       9                          IN THE UNITED STATES DISTRICT COURT
                                      10                                FOR THE DISTRICT OF ARIZONA
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                                      12   Ronald H. Pratte,                                 Case No. 2:19-cv-00239-PHX-GMS
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13                         Plaintiff,
           (480) 421-1001




                                      14
                                           vs.
                                      15                                                     JOINT MOTION FOR ENTRY OF
                                           Jeffrey Bardwell and Fanny F. Bardwell,           PROTECTIVE ORDER
                                      16   husband and wife,
                                      17                         Defendants.
                                      18
                                      19          Plaintiff Ronald H. Pratte and Defendants Jeffrey Bardwell and Fanny F. Bardwell
                                      20   anticipate that during discovery certain documents will be produced that include
                                      21   confidential business information of the parties. Accordingly, the parties jointly request
                                      22   that that Court enter the proposed protective order, attached hereto.
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                                       1      DATED this 16th day of July, 2019

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                                                                         KERCSMAR & FELTUS PLLC
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                                       4                             By: s/ Gregory Collins
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                                                                         LAW OFFICES OF THOMAS J. MARLOWE
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                                                                     By: s/ Thomas Marlowe (with permission)
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                                       1                              CERTIFICATE OF SERVICE
                                       2        I certify that on July 16, 2019, I electronically transmitted the foregoing to the
                                       3   Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of
                                           Electronic Filing to the following:
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                                           s/ Marina Gonzales
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